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                                THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DVISION

                                           DATE 4/13/2023

DISTRICT JUDGE                                       COURT REPORTER: Chris Bickham
Amos L. Mazzant, III                                 COURTROOM DEPUTY: Keary Conrad
    UNITED STATES OF AMERICA

                                                        CASE NUMBER 4:20CR212
    V.

    DEBRA MERCER-ERWIN (1)


    ATTORNEY FOR GOVERNMENT                            ATTORNEY FOR DEFENDANT
    Ernest Gonzalez, Heather Rattan and Lesley         Matthew Cyran, Joe White, Kate White
    Brooks, AUSA

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

  TIME:          MINUTES: Jury Trial – Day 3
  8:34 a.m.      Court in session. Court notes appearance of counsel.
  8:35 a.m.      Court advises Parties regarding juror #3. Defense objects and would like to keep juror #3.
                 Court excuses juror #3.
  8:35 a.m.      Court hears from Defendant’s counsel, Joe White regarding contract. Court hears
                 argument from counsel regarding the contract mentioned by witness Grace Howell.
  8:38 a.m.      Court hears from Government AUSA Heather Rattan regarding custodial witness for
                 Bank of America.
                 Court inquires as to the status of the case Government will re-evaluate witnesses and
                 evidence and will advise the Court copying all counsel this afternoon.
  8:42 a.m.      AUSA Gonzalez and Court confirm the following exhibits admitted thus far:
                 1, 1A-1G, 2A-2F, 3A-3J, 4A-4G, 4H, 5A-5E, 6A-6E, 6G, 6H, 7A, 7C-7G, 8A-8W, 9A-
                 9C, 10A-10D (excluding 10E), 10F, 10G, 11A-11C, 13, 14, 15, 16, 17, 18, 20, 21, 22,
                 22A, 22C, 23A, 23B, 23C, 24, 25A-25F, 29 (demo), 43 (with modification), 49, 51A,
                 52A, 53A, 54A, 55A, 56A, 57A, 58A, 58D, 59A, 60A, 61A, 62A, 63A, 64A, 65A, 66A,
                 67A, 68A, 69A, 71A, 72A, 73A, 92 (demo), 93 (demo), 94 (demo), 96A, 96B, 96C, 96D,
                 114, 118 (demo), and 121. All parties agree those are the admitted exhibits for the
                 Government thus far in the trial.
  8:45 a.m.      Court hears from Government AUSA Heather Rattan regarding exhibits 25A, 25B, 25C,
                 25D, 25E, and 25F and the underlying documents mentioned within those exhibits and
                 proposing to work over the long weekend to get an agreement with counsel regarding the
                 admission of those documents. Defendant’s counsel, Joe White advises the Court that
                 he continues to object that those summaries are actually a summary of the case and not a
                 summary of the witnesses’ testimony.
  8:52 a.m.      Court advises Parties of the status of juror #3 and that he has been excused.
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8:55 a.m.    Jury seated.
8:55 a.m.    Government AUSA continues direct examination of witness Grace Howe.
10:17 a.m.   Jury excused for morning break.
10:47 a.m.   Court re-convened. Jury seated.
10:48 a.m.   Government AUSA Heather Rattan calls Jeffrey Jackson, Custodian of Records of Bank
             of America. Witness placed under oath. Government AUSA Heather Rattan begins direct
             examination.
10:52 a.m.   Government AUSA Heather Rattan offers Government Exhibits 45A and 75 offered by
             the Government. Defendant’s counsel, Joe White begins voir dire of the witness.
             Objection to relevance. Court overrules Defendant’s objection.
10:53 a.m.   Witness excused.
10:55 a.m.   Witness Grace Howe re-takes the stand. Government AUSA Heather Rattan continues
             direct examination of witness.
11:57 a.m.   Jury released for lunch.
11:58 a.m.   Court advises Defendant’s counsel, Joe White regarding subpoena emailed by the Court
             staff.
11:58 a.m.   Court recess till 1pm.
1:00 p.m.    Court re-convened. Jury seated.
1:00 p.m.    Government AUSA Heather Rattan calls Jason Dudley. Witness placed under oath.
             Government AUSA Heather Rattan begins direct examination of Jason Dudley.
             Government AUSA Heather Rattan offers Government Exhibits 19, 111, 112 and 113.
             Defendant objection to relevance. Government Exhibits 19, 111, 112 and 113 are
             admitted.
1:04 p.m.    Witness excused.
1:04 p.m.    Witness Grace Howe re-takes the stand. Government AUSA Heather Rattan continues
             direct examination of Grace Howe.
2:06 p.m.    Pass the witness. Defendant’s counsel, Joe White begins cross examination of witness,
             Grace Howe.
2:55 p.m.    Jury excused for the day.
2:57 p.m.    Court hears argument from Government’s AUSA, Heather Rattan argues that defense has
             opened the door regarding daughter’s plea.
2:59 p.m.    Defendant’s counsel advises of a subpoena for Grace Howe and serves subpoena on
             Grace Howe. The Court advises counsel that the subpoena is only for the entity that Ms.
             Howe is currently employed by and no other entity.
3:00 p.m.    Court adjourned.

             Govt Exhibits Admitted: 19, 45A, 75, 111, 112, 113
             Deft Exhibits Admitted:
             Demonstrative Only Exhibits:

                                               DAVID O’TOOLE, CLERK
                                               BY:      Keary Conrad
                                                 Courtroom Deputy Clerk
